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 9 ~
                             UNITED STATES DISTRICT COURT
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>>            CENTRAL DISTRICT OF CALIFORNIA —WESTERN DIVISION

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       JONG GUL PARK                                Case No. 5:16-cv-01827 RGK-KK
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15
                    PLAINTIFF,

16     vs.                                          [       D]ORDER OF
                                                    DISMISSAL WITH PREJUDICE
       TD BANK USA, N.A.; EXPERIAN
~s     INFORMATION SOLUTIONS,INC.;
       DOES 1 THROUGH 25,INCLUSIVE,
19

20                   DEFENDANTS.

a~
          Plaintiff Jong Gul Park has announced to the Court that all matters in
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       controversy against defendant Experian Information Solutions, Inc. have been
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24     resolved. A Joint Stipulation of Dismissal with Prejudice has been signed and filed
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       with the Court. Having considered the Joint Stipulation of Dismissal with
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2~     Prejudice, The Court makes and delivers the following ruling:
                                                1
~~:~
                          [PROPSOED] ORDER OF DISMISSAL WITH PREJUDICE
     Case 5:16-cv-01827-RGK-KK Document 34 Filed 05/09/17 Page 2 of 2 Page ID #:182




         IT IS ORDERED that the claims and causes of action asserted herein by
 ~~
      plaintiff Jong Gul Park against defendant Experian Information Solutions, Inc. are
 3

 4    in all respects dismissed with prejudice.
                                              P
 s
         DATED this ~        day of     ~ ~~            ,2017.
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 9                                    HONG            LE R. GARY KLAUSNER
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                         [PROPSOED]ORDER OF DISMISSAL WITH PREJUDICE
